        Case 1:20-cv-03224-SAB    ECF No. 4   filed 05/05/21   PageID.85 Page 1 of 2



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                                                                          FILED IN THE
 3                                                                    U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON


 4
                                                                May 05, 2021
 5                                                                   SEAN F. MCAVOY, CLERK


 6
 7                       UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHINGTON
 9
10 ROY D. CHEESMAN,                               No. 1:20-CV-03224-SAB
11        Plaintiff,
12        v.
13 CITY OF ELLENSBURG,                            ORDER DISMISSING ACTION
14 ELLENSBURG CITY ATTORNEY,
15 ELLENSBURG POLICE
16 DEPARTMENT, POLICE OFFICER
17 RYAN POTTER,
18        Defendants.
19
20         Before the Court is the parties’ Stipulation for Order of Dismissal With
21 Prejudice, ECF No. 3. The parties stipulate and agree that an Order of Dismissal
22 with Prejudice should be entered.
23 //
24 //
25 //
26 //
27 //
28 //


        ORDER DISMISSING ACTION ~ 1
     Case 1:20-cv-03224-SAB      ECF No. 4    filed 05/05/21   PageID.86 Page 2 of 2



1        Accordingly, IT IS HEREBY ORDERED:
2        1.    Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the above-captioned case
3              is DISMISSED, with prejudice.
4        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order,
5 forward copies to Plaintiff and counsel, and close the file.
6        DATED this 5th day of May 2021.
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                                    Stanley A. Bastian
                            Chief United States District Judge
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     ORDER DISMISSING ACTION ~ 2
